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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                               :
 LOCAL 802 MUSICIANS HEALTH                    :
 BENEFIT FUND, by its Board of Trustees,       :           17cv3472
 et al.                                        :
                                               :           ORDER
              Plaintiff,                       :
                                               :
              -against-                        :
                                               :
 EXTREME REACH, INC., doing business           :
 as Talen Partners,                            :
                                               :
              Defendants.                      :
                                               :

WILLIAM H. PAULEY III, Senior United States District Judge:
             This Court directs the parties to submit a joint report regarding the status of the

audit by November 9, 2020.

Dated: November 2, 2020
       New York, New York
